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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION



UNITED STATES OF AMERICA,

                     Plaintiff,

        vs.                                                ORDER

IRVING HERNANDEZ-LOPEZ,

                     Defendant.


      Defendant Irving Hernandez-Lopez having filed a Motion to Approve

Excess Funds of Up to $2,500.00 on November 3, 2017.

      IT IS ORDERED that Defendant's Motion to Approve Excess Funds of Up

to $2,500.00 (Doc. 132) is GRANTED. Defendant is authorized to expend funds

of $910.00, exclusive of reimbursement for expenses reasonably incurred, to

compensate an interpreter in the above matter.
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      DATED this 1- day of November, 2017.




                                              Dana L. Christensen, Chief Judge
                                              United States District Court


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